Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 1 of 15 PageID #: 2574




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


 BRIAN HUDDLESTON,

             Plaintiff,

 vs.
                                                      Case No. 4:20-cv-447-ALM
 FEDERAL BUREAU OF
 INVESTIGATION and UNITED
 STATES DEPARTMENT OF JUSTICE

             Defendant


  PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT FBI’S MOTION
 FOR CLARIFICATION OR, IN THE ALTERNATIVE, RECONSIDERATION OF
 THE MEMORANDUM OPINION AND ORDER ENTERED SEPTEMBER 29, 2022

       NOW COMES Brian Huddleston, the Plaintiff, responding in opposition to Defendant

FBI’s Motion for Clarification or, in the Alternative, Reconsideration of the Memorandum

Opinion and Order entered September 29, 2022 (“Motion”) (Dkt. #73):

                                        Introduction

       The FBI has misled the Court about Seth Rich’s laptop. On October 27, 2022, the FBI

informed the Court that it never examined data extracted from Seth Rich’s personal laptop:

       The FBI did not open an investigation into the murder of Seth Rich, nor did it provide
       investigative or technical assistance to any investigation into the murder of Seth Rich.
       As a result, the FBI has never extracted the data from the compact disc and never
       processed the information contained on the disc.

Motion 1. Nearly two years earlier, however, the FBI told the Court something very

different:




                                             -1-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 2 of 15 PageID #: 2575




         FBI is also currently working on getting the files from Seth Rich's personal laptop
         into a format to be reviewed. There are thousands of files of many types. The goal
         right now is to describe, generally, the types of files/personal information contained in
         this computer. Furthermore, the FBI will continue to evaluate the responsiveness of
         these files under the FOIA.

Defendants’ Motion to Stay Scheduling Order Deadlines (Dkt. #10) 2-3 (emphasis added). It

is impossible to “review,” “describe” and “evaluate” information without “extracting” and

“processing” it. The FBI’s two statements cannot be reconciled and underscore the agency’s

penchant for deception, a tendency that runs directly counter to the core purpose of the

Freedom of Information Act. 1 And if that was not insulting enough, the FBI now seeks more

than 66 years to produce the contents of the laptop. See Zachary Steiber, “FBI Asks Court

for 66 Years to Release Information From Seth Rich’s Computer,” October 28, 2022 The

Epoch Times, https://www.theepochtimes.com/mkt_app/fbi-asks-court-for-66-years-to-

release-information-from-seth-richs-computer_4826785.html (attached as Exhibit 1).2 The




1
      “FOIA ‘was enacted to facilitate public access to Government documents.’ ” Lahr v. Nat'l
       Transp. Safety Bd., 569 F.3d 964, 973 (9th Cir. 2009) (quoting U.S. Dep't of State v. Ray,
       502 U.S. 164, 173, 112 S.Ct. 541, 116 L.Ed.2d 526 (1991)). Its “ ‘core purpose’ is to
       inform citizens about ‘what their government is up to.’ ” Yonemoto v. U.S. Dep't of
       Veterans Affairs, 686 F.3d 681, 687 (9th Cir. 2012) (quoting Dep't of Justice v. Reporters
       Comm. for Freedom of the Press, 489 U.S. 749, 773, 775, 109 S.Ct. 1468, 103 L.Ed.2d 774
       (1989)).

    Am. Small Bus. League v. United States Office of Mgmt. & Budget, No. 20-CV-07126-DMR,
    2022 WL 4544726, at *7 (N.D. Cal. Sept. 28, 2022)
2
    The undersigned attests under penalty of perjury under the laws of the United States that
    Exhibit 1 is a true and correct copy of an article that appeared on October 28, 2022 in The
    Epoch Times. The undersigned further attests under penalty of perjury that each exhibit to this
    document is a true and correct copy of the document that he represents it to be.



                                                 -2-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 3 of 15 PageID #: 2576




Court should not reward such a transparent effort to frustrate the Court’s order and

undermine FOIA.3

         Similarly, the FBI cannot get its story straight about whether it possessed Seth Rich’s

personal laptop or whether it merely possessed a disk reflecting the purported contents of that

laptop. In the Motion, the FBI implies that it merely has a disk. Motion 1. Almost two years

ago, however, the FBI wrote as follows:

         [I]n response to Plaintiff’s emphasis on any report(s) regarding Seth Rich’s personal
         computer, the FBI acknowledges that they have located a 302 (interview form) stating
         that the laptop was given to the FBI, but thus far have located no report of it being
         analyzed by the FBI. The FBI proposes to process the 302 form as a priority item in
         the first release, along with other processing.

Defendants’ Response to Plaintiff’s Sur-reply in Opposition to Motion to Stay (Dkt. #15) 2

(emphasis added). In an email dated October 29, 2022, the Plaintiff asked the FBI to explain

both of the foregoing discrepancies. See October 29, 2022 Email String between Asst. U.S.

Attorney Andrea Parker and Ty Clevenger (Exhibit 2). The FBI refused, telling the Plaintiff

to raise the issues in his response to the Motion, id., so here we are.

         As a result of the FBI’s persistent flip-flopping, the Plaintiff is concerned that the FBI

may have taken custody of the laptop from the local police and then played “hot potato,” i.e.,

by giving the laptop back to the local police in order to avoid disclosing it in response to the




3
    The FBI filed the Motion on the last day of the agreed-upon stay, and it has not sought an
    additional stay, thus the FBI is violating the Court’s order even now. See Order Granting
    Defendant FBI’s Unopposed Motion to Stay Court’s Production Order (Dkt. #72)(“The Court’s
    Production Order (Dkt. #70) is hereby stayed up to and including October 27, 2022.”).



                                                -3-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 4 of 15 PageID #: 2577




Plaintiff’s FOIA request.4 The Plaintiff has repeatedly sought clarity from the FBI about

whether it possessed the actual laptop:

         The Defendants claim that a compact disc and a video disc are subject to law
         enforcement exemptions. Reply 14. As indicated above, the Defendants are obligated
         to disclose whether the investigations in question are open or closed, and the Court
         should order them to make those disclosures. Mr. Seidel has admitted, at least
         implicitly, that the compact disc in question contains the purported contents of Seth
         Rich’s personal laptop, which were copied post mortem by his brother, Aaron Rich.
         Compare Fifth Declaration ¶25 and Fourth Declaration ¶137 with Cross-Motion 30-
         31 (citing the record) and Motion for In Camera Review (Dkt. #28) 10-12 (citing the
         record). Mr. Huddleston predicted this was the case on pp. 30-31 of the Cross-
         Motion. Mr. Huddleston further observed that footnote 42 of the Fourth Declaration
         seems to suggest that the FBI took custody of the laptop itself (the FBI already has
         acknowledged taking custody of the work laptop). Cross-Motion 30. In his Fifth
         Declaration, Mr. Seidel failed to clarify whether the FBI took custody of the personal
         laptop, and that is not an insignificant matter. Fortunately, Plaintiff’s Counsel
         happened to review a December 9, 2020 email wherein Defendants’ Counsel wrote
         the following:

                 FBI is also currently working on getting the files from Seth Rich's personal
                 laptop into a format to be reviewed. As you can imagine, there are thousands
                 of files of many types. The goal right now is to describe, generally, the types
                 of files/personal information contained in this computer. Furthermore, the FBI
                 will continue to evaluate the responsiveness of these files under the FOIA.

         December 9, 2020 Email from Andrea Parker to Ty Clevenger (attached as Exhibit 1)
         (emphasis added). Neither Mr. Seidel nor the Vaughn index have ever made any
         reference to what was found on the personal laptop. 5 The FBI had the ability to search
4
    Such a scenario might have seemed far-fetched a few years ago, but not today. According to
    FBI whistleblowers quoted in a thousand-page minority report from the Judiciary Committee
    of the U.S. House of Representatives, a high-ranking FBI agent actively covered up evidence
    of misconduct by the President’s son, and apparently for partisan, political reasons. See
    November 4, 2022 Republican Staff Report, “FBI WHISTLEBLOWERS: WHAT THEIR
    DISCLOSURES INDICATE ABOUT THE POLITICIZATION OF THE FBI AND JUSTICE
    DEPARTMENT,” 18 (https://republicansjudiciary.house.gov/wpcontent/uploads/2022/
    11/HJC_STAFF_FBI_REPORT.pdf). As the Court already knows, the Plaintiff contends that
    the FBI is hiding information about the Seth Rich laptop for partisan, political reasons.
5
    [Footnote appearing in original excerpt]: Mr. Huddleston also requested records reflecting
    “[a]ll data downloaded from all electronic devices that belonged to Seth Rich as well as all
    data, documents, records or communications indicating how the devices were obtained and
    who was responsible for downloading the information.” FAC 3, ¶6. Where are the records


                                                 -4-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 5 of 15 PageID #: 2578




       the files and apparently did so, but the Vaughn index, the Fifth Declaration, and the
       Reply say absolutely nothing about the file types or the file contents.

Plaintiff’s Surreply in Opposition to Defendants’ Motion for Summary Judgment and Reply

in Support of Plaintiff’s Cross-Motion for Summary Judgment (Dkt. #65) 14-15. Public

reporting and sworn testimony strongly support the view that the FBI did in fact obtain and

analyze Seth Rich’s computer (and that in turn rebuts the claim that only “conspiracy

theorists” would have any interest in Seth’s laptops or electronic devices). The Plaintiff

directs the Court’s attention to the transcript of Michael Isikoff’s Yahoo!News interview of

former Asst. U.S. Attorney Deborah Sines, the prosecutor assigned to investigate the murder

of Seth Rich. See Plaintiff’s Exhibit 2, March 20, 2020 Deposition of Deborah Sines (Exhibit

3 to this document). In that interview, Mr. Isikoff claims that the FBI (not just local police)

examined Mr. Rich’s actual laptop, and Ms. Sines seems to confirm that. Id. In subsequent

deposition testimony, Ms. Sines confirmed that her statements to Mr. Isikoff were accurate.

See Transcript of March 20, 2020 Deposition of Deborah Sines (Exhibit 4) at 97. And she

specifically confirmed under oath that the FBI had indeed examined Seth’s laptop. Id. at 38.

       At long last, it is time for the FBI to come clean and admit that it obtained Seth Rich’s

laptop, examined its contents, and processed the data that it contains. The FBI’s absurd

request for 66 years to divulge the information on the laptop heightens the need for this Court

to put an end to the FBI’s games. Public confidence in the integrity of federal law

enforcement demands no less.




 indicating who downloaded the data? And what about data downloaded from other devices
 such as cell phones? The FBI left these questions unanswered, therefore it should be subject to
 discovery.


                                              -5-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 6 of 15 PageID #: 2579




                                           Argument

       The Plaintiff does not disagree with the FBI’s description of the standard of review

for a motion for reconsideration, therefore he will proceed to the merits.

1. The FBI failed to brief the issues for which it now seeks reconsideration.

       It is well established that a party waives an issue by failing to brief it. See Boggs v.

Krum Indep. Sch. Dist., 376 F. Supp. 3d 714, 722 (E.D. Tex. 2019), quoting Audler v. CBC

Innovis Inc., 519 F.3d 239, 255 (5th Cir. 2008), in turn quoting Castro v. McCord, 259 F.

App'x 664, 665 (5th Cir. 2007)(“A party ‘waives an issue if he fails to adequately brief it.’).

In particular, a summary judgment movant waives an issue by failing to brief it. Boggs, 376

F.Supp.3d at 722. Having failed to raise an issue or brief it in a motion for summary

judgment, the movant may not then salvage the issue by raising it in a motion for

reconsideration. See, generally, Henderson v. Franklin, 782 Fed. Appx. 866, 872 (11th Cir.

2019); Newburgh/Six Mile Ltd. P'ship II v. Adlabs Films USA, Inc., 483 Fed. Appx. 85, 90-

91 (6th Cir. 2012); and Gipson v. Mattox, 511 F. Supp. 2d 1182, 1190 (S.D. Ala. 2007). In

other words, the movant does not get a Mulligan on reconsideration, which is exactly what

the FBI seeks here.

       In its Motion, the FBI now contends that the Court erred by failing to consider

whether FOIA exemptions 7(D)-3 and 7(E)-6 prevent disclosure of the contents of Seth

Rich’s personal laptop, Motion 2, but those arguments were never raised in the Defendants’

Motion for Summary Judgment (“MSJ”)(Dkt. #37). Instead, the FBI’s entire argument for

withholding Seth Rich’s personal laptop was contained in the following sentence: “[T]he FBI

withheld information derived from Seth Rich’s personal laptop as such information would



                                               -6-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 7 of 15 PageID #: 2580




violate the privacy rights of the survivors of Seth Rich.” MSJ 44, citing Fourth Declaration

of Michael G. Seidel (Dkt. #37-1) ¶¶123-40, Exh. N. Even if one takes into consideration the

FBI’s reply in support of the MSJ, the FBI offers nothing more of substance:

       As previously explained in the 4th Seidel Declaration, the FBI withheld information
       derived from Seth Rich’s personal laptop in its entirety as such information would
       violate the privacy rights of the survivors of Seth Rich. Specifically, in ¶ 139 the FBI
       states that “Seth Rich has no privacy interests due to being deceased, however, the
       same cannot be said for those that survive him and are left to cherish his memory.” In
       balancing the survivors’ privacy interest in non-disclosure against the public interest
       in disclosure, the FBI determined that the survivors’ privacy interest outweighs the
       public’s interest in disclosure, as disclosure of the information on Seth Rich’s
       personal laptop would not shed light on the operations and activities of the FBI.
       Further, the information on Seth Rich’s personal laptop, in and of itself, would not
       demonstrate how the FBI performed its statutory mission and thus, would not
       significantly increase the public’s understanding of the FBI’s operations and
       activities. Accordingly, the FBI properly protected the privacy interests of the
       survivors of Seth Rich pursuant to FOIA Exemptions 6 and 7(C).

Defendants’ Combined Reply to Plaintiff’s Response and Opposition to Cross Motion for

Summary Judgment (Dkt. #54) 13-14 (emphasis added).

       Nowhere in the foregoing excerpts from the MSJ and the reply can one find anything

about Exemptions 7(D)-3 or 7(E)-6. In other words, neither the Court nor the Plaintiff could

have had any idea from the briefing that the FBI was asserting Exemptions 7(D)-3 or 7(E)-6

with respect to the laptop. Nonetheless, the FBI now tries to create the false impression that it

did brief those issues. The Motion cites pp. 40-41 of MSJ in support of its argument that

Exemption 7(D)-3 already had been briefed, but apparently the FBI was hoping that neither

the Court nor the Plaintiff would check that cite. Pages 40-41 of the MSJ state nothing

whatsoever about the laptop. Instead, those pages contain an entirely generic description of

Exemption 7(D)-3, making no attempt to apply that exemption to the laptop or any other

specific record. The same is true for Exemption 7(E)-6. The Motion cites pp. 41-42 of the


                                              -7-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 8 of 15 PageID #: 2581




MSJ, but those pages contain nothing more than a generic description of Exemption 7(E)-6,

once again making no attempt to apply that exemption to the laptop or any other specific

record.

          The Motion also quotes the Fourth Declaration of Michael G. Seidel (Dkt. #37-1) at

some length, Motion 5-7, but that is equally unavailing. Mr. Seidel’s declaration is a

declaration, not a brief. He cites no legal authority whatsoever other than the exemptions

themselves, and he makes no attempt to apply those exemptions to the laptop or any other

specific record. Again, there is no way the Court nor the Plaintiff could have read the MSJ

and concluded that the FBI was relying on Exemptions 7(D)-3 or 7(E)-6. Having failed to

raise these issues previously, the FBI cannot raise them now. Boggs, 376 F.Supp.3d at 722.

2. Exemption 7(D)-3 does not apply to the laptop.

          According to the Motion, the FBI relied on Exemption (7)(D)-3 to withhold “the

name, identifying information of, and information provided by local law enforcement

personnel under an implied assurance of confidentiality.” Motion, quoting Fourth

Declaration of Michael G. Seidel ¶150 (Dkt. #37-1). As noted above, neither the MSJ nor the

declaration connected Exemption (7)(D)-3 to the laptop, but for sake of argument the

Plaintiff will pretend that the FBI raised the issue previously and properly.

          “Exemption 7(D) protects two distinct types of information: (1) information [that]
          ‘could reasonably be expected to disclose the identity of a confidential source[;]’[ ]
          and (2) ‘information furnished by a confidential source’ ” in the context of a criminal
          or national security investigation. Cobar v. Dep't of Justice, 81 F. Supp. 3d 64, 72
          (D.D.C. 2015); see also Parker v. Dep't of Justice, 934 F.2d 375, 380 (D.C. Cir.
          1991). “A source counts as confidential ‘if the source provided information under an
          express assurance of confidentiality or in circumstances from which such an
          assurance could reasonably be inferred.’ ” Labow v. U.S. Dep't of Justice, 831 F.3d
          523, 530 (D.C. Cir. 2016) (quoting Williams v. FBI, 69 F.3d 1155, 1159 (D.C. Cir.
          1995))… When an agency asserts that a source provided information under an


                                                -8-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 9 of 15 PageID #: 2582




       implied assurance of confidentiality, the Court must consider that contention in light
       of four factors: “the character of the crime at issue, the source's relation to the crime,
       whether the source received payment, and whether the source has an ongoing
       relationship with the law enforcement agency and typically communicates with the
       agency only at locations and under conditions which assure the contact will not be
       noticed.” Shem-Tov I, 2020 WL 2735613, at *10 (quoting Labow, 831 F.3d at
       531); see also U.S. Dep't of Justice v. Landano, 508 U.S. 165, 179, 113 S.Ct. 2014,
       124 L.Ed.2d 84 (1993).

Shem-Tov v. Dep't of Justice, 531 F. Supp. 3d 102, 108–09 (D.D.C. 2021).

       An agency must do more than simply state that a source provided information on a
       confidential basis. See Citizens for Responsibility & Ethics in Washington v. DOJ,
       746 F.3d 1082, 1101 (D.C. Cir. 2014). If an agency does not “present probative
       evidence that the source did in fact receive an express grant of confidentiality,” then it
       must “point to more narrowly defined circumstances that support the inference of
       confidentiality.” Id.

Cornucopia Inst. v. United States Dep't of Agric., 282 F. Supp. 3d 150, 166 (D.D.C. 2017).

“A source's confidentiality is determined on a case-by-case basis, and a court must determine

‘whether the particular source spoke with an understanding that the communication would

remain confidential.’” Light v. Dep't of Justice, 968 F. Supp. 2d 11, 28 (D.D.C. 2013),

quoting Dep't of Justice v. Landano, 508 U.S. 165, 172, 113 S.Ct. 2014, 124 L.Ed.2d 84

(1993) (emphasis in original). Taken together, Lodano, Light, Shem-Tov, and Cornucopia

Inst. plainly indicate that the government must do a lot more than what the FBI has done

here. In order to meet the standards of Exemption 7(D), the FBI would at least need to

explain (1) how it reasonably inferred that the agency / source provided the laptop only under

an assurance of confidentiality; and (2) how disclosure of the laptop’s contents would cause

harm to the local law enforcement agency (or officer) that provided the laptop to the FBI. Id;

see also Petrucelli v. Dep't Of Justice, 51 F. Supp. 3d 142, 170 (D.D.C. 2014). The FBI has

made no attempt to meet those burdens.



                                               -9-
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 10 of 15 PageID #: 2583




       The present case is somewhat similar to Bagwell v. U.S. Dep't of Justice, 588 F. Supp.

3d 58 (D.D.C. 2022), wherein a FOIA requestor sought records from the Department of

Justice about a sexual abuse investigation at Pennsylvania State University. DOJ claimed that

it obtained documents from Penn State under an implied assurance of confidentiality, but the

D.C. court rejected that argument wholesale.

       The Court is not convinced by any of the more case-specific reasons DOJ offers for
       inferring a guarantee of confidentiality here. It looks first to Penn State's locus “at the
       center of” an investigation into child sexual abuse, a “serious” criminal charge. Suppl.
       Hudgins Decl. ¶¶ 37–38. To be sure, the Supreme Court has indicated that “the nature
       of the crime that was investigated and the source's relation to it” are relevant to
       whether an inference of confidentiality exists. Landano, 508 U.S. at 180, 113 S.Ct.
       2014; see also Roth v. Dep't of Just., 642 F.3d 1161, 1184 (D.C. Cir. 2011) (listing
       other factors). But Penn State is a large and well-represented public institution—a far
       cry from the “witness[ ] to a gang-related murder” the Supreme Court offered as an
       example of someone who might be “unwilling to speak ... except on the condition of
       confidentiality.” Landano, 508 U.S. at 179, 113 S.Ct. 2014. The circumstances here
       thus do not support a finding of some implicit confidentiality agreement. The only
       other suggestion of confidentiality advanced by the Department is a statement from
       the EOUSA FOIA officer that, after the filing of this case, she spoke with an
       Associate General Counsel at Penn State, who “expressed his belief that records
       turned over via grand jury subpoena would remain confidential, absent a federal
       criminal prosecution.” Hudgins Decl. ¶ 21. This general, post-hoc, hearsay rationale is
       unavailing. Even taken at face value, Penn State's belief that a confidentiality
       agreement existed—without knowing the foundation for that belief—is not enough.
       DOJ must show that circumstances at the time gave rise to an “implied assurance of
       confidentiality.” Landano, 508 U.S. at 179, 113 S.Ct. 2014 (emphasis added). As the
       Court has already explained, the circumstances here did not. For this reason, the
       Department has again not justified its broad withholding effort, this time under
       Exemption 7(D).

Bagwell, 588 F. Supp. 3d at 71–72. The local police department in D.C. is “a large and well-

represented public institution—a far cry from the ‘witness[ ] to a gang-related murder,’” and

it is difficult to imagine why it needs the protections of Exemption 7(D)-3.

       Detective Joseph Della-Camera of the Metropolitan Police Department is, as a matter

of public record, the investigator assigned to investigate the murder of Seth Rich. See Andy


                                              - 10 -
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 11 of 15 PageID #: 2584




Kroll, “A Murder, a Conspiracy Theory, and the Lies of Fox News,” August 16, 2020

Rolling Stone, https://www.rollingstone.com/politics/politics-features/seth-rich-fox-news-

sean-hannity-wikileaks-donald-trump-1040830/ (Exhibit 5). As indicated above, former Asst.

U.S Attorney Deborah Sines was assigned to prosecute the murder case, and she testified and

spoke publicly about Seth’s laptop. See Sines Deposition (Exhibit 4) at 38 and 97. It is a near

certainty (despite extensive redactions) that Det. Della-Camera and Ms. Sines are the

individuals who provided the laptop contents to the FBI as reflected in a FD-302 report of a

March 15, 2018 meeting with the Special Counsel’s Office. Compare March 15, 2018 FD-

302 Form (Exhibit 6) with Fourth Declaration of Michael G. Seidel (Dkt. #37-1) ¶137. The

Plaintiff is unable to surmise how the release of the contents of the laptop would endanger

Det. Della-Camera, Ms. Hines, or anyone else in local law enforcement, but that is irrelevant.

The FBI had the burden of explaining how the laptop was covered by Exemption (7)(D)-3,

and it made no effort to meet that burden.

3. Exemption 7(E)-6 does not apply to the laptop.

       According to the Motion, the FBI generically relied on Exemption 7(E)-6 because

releasing records “would disclose the identity of methods used in the collection and analysis

of information, including how and from where the FBI collects information and the methods

to employed to analyze it once collected.” Motion 7, quoting Fourth Declaration of Michael

G. Seidel ¶171 (Dkt. #37-1). Note once again that neither the Motion nor the MSJ made any

attempt to apply Exemption 7(E)-6 to the laptop. That is fatal:

       FOIA Exemption 7(E) permits withholding of law enforcement records “to the extent
       the production of such law enforcement records or information ... would disclose
       techniques and procedures for law enforcement investigations or prosecutions, or
       would disclose guidelines for law enforcement investigations or prosecutions if such


                                             - 11 -
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 12 of 15 PageID #: 2585




       disclosure could reasonably be expected to risk circumvention of the law.” 5 U.S.C. §
       552(b)(7)(E). “Exemption 7(E) sets a relatively low bar for the agency to justify
       withholding: ‘Rather than requiring a highly specific burden of showing how the law
       will be circumvented, exemption 7(E) only requires that the [agency] demonstrate
       logically how the release ... might create a risk of circumvention of the
       law.” Blackwell, 646 F.3d at 42 (quoting Mayer Brown LLP v. IRS, 562 F.3d 1190,
       1194 (D.C. Cir. 2009)). Notwithstanding the low bar set by Exemption 7(E), “the
       agency must at least provide some explanation of what procedures are involved and
       how they would be disclosed.” CREW, 746 F.3d at 1102 (emphasis in original); see
       also Petrucelli v. Dep't of Justice, 51 F. Supp. 3d 142, 171 (D.D.C. 2014) (finding
       a “near-verbatim recitation of the statutory standard” insufficient); Dent v. Exec. Off.
       for U.S. Att'ys, 926 F. Supp. 2d 257, 272 (D.D.C. 2013) (“Notwithstanding the
       categorical protection to law enforcement techniques and procedures afforded under
       the first clause of Exemption 7(E) ... no agency can rely on declarations written in
       vague terms or in a conclusory manner.”).

Woodward v. United States Marshals Serv., 534 F. Supp. 3d 121, 130–31 (D.D.C. 2021)

(emphasis added). Paragraph 171 of Mr. Seidel’s declaration is a textbook example of a

“near-verbatim recitation of the statutory standard,” thus the FBI’s argument falls flat.

Petrucelli, 51 Supp.3d at 171.

       But it’s worse than that. In the Motion, the FBI claims that it never examined the

contents of Mr. Rich’s laptop. Motion 1. The FBI also disavowed any investigative interest

in the laptop or its contents:

       Through its search efforts… the FBI located an FD-302 documenting a meeting
       which took place on March 15, 2018. At the meeting, a source provided to an FBI
       Agent assigned to assist with the Special Counsel’s Office investigation, information
       and material extracted from Seth Rich’s personal laptop. The FBI did not utilize the
       information received to aid in its DNC investigation or any other investigations.
       Further, since the FBI had no involvement in the extraction of the data from Seth
       Rich’s personal laptop, there is no way to know with certainty if the information
       provided by the source and maintained by the FBI in the Special Counsel’s Office
       record collection, accurately depicts the contents of the information contained on Seth
       Rich’s personal laptop at the time of his death.

Fourth Declaration of Michael G. Seidel (Dkt. #37-1) ¶137 (emphasis added). If this is true,

then how could the FBI’s investigative or analytical techniques be compromised by revealing


                                             - 12 -
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 13 of 15 PageID #: 2586




the contents of a laptop that it never investigated or analyzed? And how can Exemption 7(E)-

6 apply to a laptop that is purportedly of no investigative interest to the FBI? According to

Mr. Seidel, “[r]elease of this type of information would enable criminals to educate

themselves about the methods employed to collect and analyze information and therefore

allow them to take countermeasures to circumvent the effectiveness of these methods and

continue to engage in activities that violate the law,” Fourth Declaration of Michael G. Seidel

¶171, but that’s not even plausible. We already know that the FBI obtained the laptop

contents from the local police, Motion 1, so is the FBI suggesting that merely obtaining

evidence from local law enforcement is a technique that needs to be protected?

       The FBI’s untimely, self-serving arguments raise more questions than answers, but it

is not the job of the Court or the Plaintiff to figure out what the FBI is trying to say. The FBI

bore the burden of explaining how Exemption 7(E)-6 applied, and it never attempted to meet

that burden in the MSJ or even now on reconsideration.

4. The FBI does not need 66 years or more to turn over the laptop contents.

       In this very case, the Court already has warned that timeliness is critical when

requestors seek records about matters of public importance. “The vague and dragged-out

timeline Defendants suggest cannot be sustained without a greater showing of exceptional

circumstances because ‘stale information’ produced pursuant to FOIA requests ‘is of little

value.’” Huddleston v. Fed. Bureau of Investigation, 4:20-CV-447, 2021 WL 327510, at *3

(E.D. Tex. Feb. 1, 2021), quoting Payne Enterprises, Inc. v. United States, 837 F.2d 486, 494

(D.C. Cir. 1988). The FBI itself has acknowledged that there is significant public interest in

matters pertaining to Seth Rich. See Fourth Declaration of Michael G. Seidel (Dkt. #37-1)



                                              - 13 -
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 14 of 15 PageID #: 2587




¶138, yet it now seeks more than 66 years to produce the contents of Seth’s laptop. The FBI

claims it needs another seven decades because it “will have to convert the information on the

disc into pages for review for responsiveness and the applicability of specific FOIA

exemptions.” No, it will not. The Court has rejected the FBI’s third-party privacy arguments,

thus there is nothing further for the FBI to review. Enough is enough. “Telling the requester

‘You'll get the documents 15, or eight, years from now’ amounts as a practical matter in most

cases to saying ‘regardless of whether you are entitled to the documents, we will not give

them to you.’” Fiduccia v. DOJ, 185 F.3d 1035, 1041 (9th Cir. 1999); see also Hayden v.

DOJ, 413 F. Supp. 1285, 1289 (D.D.C. 1976) (explaining that when Congress created

FOIA's due-diligence requirement, it did not intend for production to take years). The Court

should give the FBI no more than 14 days to produce what it should have produced five

years ago.




                                            - 14 -
Case 4:20-cv-00447-ALM Document 76 Filed 11/10/22 Page 15 of 15 PageID #: 2588




                                         Conclusion

       The Defendants waived all of their arguments by failing to raise them in the MSJ.

Boggs, 376 F. Supp. 3d at 722. Even now, the FBI fails to explain how Exemptions 7(D)-3

and 7(E)-6 apply to Seth’s laptop. The FBI therefore should be directed to produce all

records pertaining to the laptop within 14 days.



                                            Respectfully submitted,

                                            /s/ Ty Clevenger
                                            Ty Clevenger
                                            Texas Bar No. 24034380
                                            212 S. Oxford Street #7D
                                            Brooklyn, New York 11217
                                            (979) 985-5289
                                            (979) 530-9523 (fax)
                                            tyclevenger@yahoo.com

                                            Counsel for Plaintiff Brian Huddleston



                                    Certificate of Service

       On November 10, 2022, I filed a copy of this response with the Court’s ECF system,
which should result in automatic notification via email to Asst. U.S. Attorney Andrea Parker,
Counsel for the Defendants, at andrea.parker@usdoj.gov.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




                                             - 15 -
